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                     UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

      OUTSOURCING FACILITIES
      ASSOCIATION, ET AL.,

           Plaintiffs,

      v.                                                  No. 4:24-cv-00953-P

      UNITED STATES FOOD AND DRUG
      ADMINISTRATION, ET AL.,

           Defendants.
                                     ORDER
         Before the Court is Eli Lilly and Company’s Unopposed Motion to
      Close the Courtroom for Hearing on Parties’ Motions for Summary
      Judgment. ECF No. 141. Since long before the founding of this great
      Nation, courtrooms and hearings have been open to the public. This is
      because transparency is the great safeguard against corruption and
      injustice. The undersigned strains to think of a time in our Nation’s
      history when transparency in the judiciary was more essential than it is
      now. Politicians from both sides consistently and with alacrity accuse
      judges of donning red or blue robes and forsaking their oaths to
      administer justice without respect to persons or outcome. Such hostility
      has bled into the public sphere and fostered a public distrust of the
      judiciary.

         As a consequence of the foregoing, the Court hesitates to close a
      hearing to the public in a case which affects so many Americans. A
      sentiment seemingly understood by Lilly and the Federal Defendants.
      See ECF No. 141 at 6 (“Counsel for Lilly and counsel for Federal
      Defendants agreed to conduct the summary judgment hearing without
      disclosing any Confidential Information.”). But Plaintiffs feel that they
      cannot properly present their case without the use of confidential
      information and the Parties agree. Thus, with consternation, the Court
      GRANTS Lilly’s Motion to close the courtroom. It is ORDERED that
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      the courtroom will be closed to the public and to anyone who is not
      employed by the Court or subject to the agreed confidentiality
      agreement in this case. 1

         SO ORDERED on this 23rd day of April 2025.




         1“In a government which is emphatically stiled a government of laws, the

      least possible range ought to be left for the discretion of the judge. Whatever
      tends to render the laws certain, equally tends to limit that discretion; and
      perhaps nothing conduces more to that object than the publication of reports.
      Every case decided is a check upon the judge. He can not decide a similar case
      differently, without strong reasons, which, for his own justification, he will
      wish to make public. The avenues to corruption are thus obstructed, and the
      sources of litigation closed.” Cranch, William, C.J., Preface, 1 Cranch iii 1804.
      In light of Judge Cranch’s sentiments, which led to the availability of reporters,
      within three business days of the completion of the hearing transcript, it is
      ORDERED that the Parties shall file a redacted version of the transcript as a
      part of the public record.

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